Case 22-03002-mdc          Doc 2     Filed 03/23/22 Entered 03/24/22 08:24:25             Desc Main
                                     Document      Page 1 of 1



                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

In re:                                          :
                                                :
         MICHAEL A. COHEN                       :
                                                :       Misc. No. 22-03002
                                                :


                                               ORDER

         AND NOW, upon consideration of the Standing Chapter 13 Trustees’ Motion to Compel,

it is hereby ORDERED that the request is GRANTED.

         IT IS ORDERED that Michael A. Cohen, Esquire shall appear before this Court on April

20, 2022, at 12:00 p.m. by calling Conference Call Number 877-336-1828 Access Code

7855846 to advise the Court the following:

         (1) what steps he has taken to protect his clients and their files by notifying them of his

purported career change;

         (2) how he has made his clients’ files available to them for retrieval; and

         (3) what arrangements have been made for replacement counsel to enter appearances to

protect his clients’ interests in their current Chapter 13 cases.

         Failure to appear may subject Michael A. Cohen, Esquire to sanctions by the Court.



                                        BY THE COURT:

    March 23, 2022
                                        ________________________
                                        Magdeline D. Coleman
                                        Chief U.S. Bankruptcy Judge
